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 NOT FOR PUBLICATION


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



  RUTH T. MCLEAN,


          Plaintiff,
                                                          Civil Action No. 23-22842 (RK) (JBD)
                  V.


                                                                         OPINION
  ABffiE D. SUMFTRA, et al.,


          Defendants.




 KIRSCH, District Judse

         THIS MATTER comes before the Court upon a number of motions filed by both Plaintiff


 Ruth T. McLean, ("Plaintiff), and Defendants1 in this action. Plaintiff has filed two Motions to


 Amend the Complaint, (ECF Nos. 22, 40), a Motion for Sanctions, (ECF No. 51), and an Order to


 Show Cause for Preliminary Injunction and Temporary Restraining Order, (ECF No. 54).2 The


 PNC Defendants have filed a Cross-Motion to Dismiss the Complaint. (ECF No. 15.)3 The Ohio


 Secretary of State has filed a Motion for Judgment on the Pleadings on Plaintiff s Initial Complaint,




 1 Defendants in this matter are PNC Bank, N.A. ("PNC Bank"), Aimee D. Sumitra (d/b/a PNC Bank),
 Thomas W. Morris (d/b/a PNC Bank) (together with PNC Bank and Aimee D. Sumitra, the "PNC
 Defendants"), the Ohio Secretary of State, the Pennsylvania Secretary of the Commonwealth, and the
 Delaware Secretary of State (together with the Ohio Secretary of State and Pennsylvania Secretary of the
 Commonwealth, the "Secretary of State Defendants"). (See "I.C.," ECF No. 1, at *3^.) The Operative
 Complaint additionally names as Defendants "John and Jane Does 1-5" (the "Unnamed Defendants"). (See
 "O.C.,"ECFNo.47,atl.)

 2 The PNC Defendants opposed the First and Second Motions to Amend, (ECF Nos. 24, 46), as well as the
 Motion for Sanctions, (ECF No. 52). As Plaintiff's Order to Show Cause for Preliminary Injunction and
 Temporary Restraining Order was filed on September 20,2024, Defendants' deadline to file any opposition
 has not yet expired. Because Plaintiff's motion is patently frivolous, the Court need not wait for an
 opposition, and Defendants need not expend additional time and resources to address same.

 3 Plaintiff filed an Opposition to the PNC Defendants' Cross-Motion to Dismiss. (See ECF No. 20.) The
 PNC Defendants replied to Plaintiffs Opposition. {See ECF No. 25.)
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 (ECF No. 29), and a Motion to Dismiss Plaintiffs unauthorized Operative Complaint, (ECF No.


 48). The Court has considered the parties' submissions and resolves the pending motions without


 oral argument pursuant to Federal Rule of Civil Procedure 78 and Local Civil Rule 78.1.


          For the reasons set forth below, the PNC Defendants' Cross-Motion to Dismiss the


 Complaint, and the Ohio Secretary of State's Motion to Dismiss the Operative Complaint, are


 GRANTED. (ECFNos. 15,48.) Plaintiffs Operative Complaint is DISMISSED without prejudice

 as to all Defendants. (ECF No. 47.) Plaintiffs Motions to Amend and the Ohio Secretary of State's


 Motion for Judgment on the Pleadings are DENDBD as moot. (ECF Nos. 22, 29, 40.) Plaintiffs


 Order to Show Cause for Preliminary Injunction and Temporary Restraining Order and Motion for


 Sanctions are both DENIED. (ECFNos. 51, 54.)

         I. BACKGROUND4

         This matter arises out of a New Jersey state foreclosure action brought by Defendant PNC


 Bank against Plaintiff in the Superior Court of New Jersey for Middlesex County, Chancery


 Division (the "Foreclosure Action").5 (I.C. at *6; ECF No. 15-2 at Ex. A.) The exact nature of the


 alleged wrongdoing in this federal action brought by Plaintiff is not clear, but it seems to involve


 a property located in Plainsboro, New Jersey, (I.C. at *6), a "[m]ortgage claim of $170,000


 advance," (id.\ PNC Bank's supposed "filing of frivolous lawsuit" around March 2023, {id.), and




 4 Pin-cites preceded by an asterisk refer to the page numbers in the CM/ECF header.
 5 The record's most recent update in the Foreclosure Action—filed by the PNC Defendants—is a January
 12, 2024 Order from the Honorable Lisa M. Vignuolo, P.J.Ch. granting PNC Bank's Motion for Summary
 Judgment and dismissing Plaintiffs "affirmative defenses and quiet title claim." ("Foreclosure Action MS J
 Order," ECF No. 15-2 at Ex. A.) Judge Vignuolo ordered the matter "returned to the Office of Foreclosure
 as uncontested." (Id.) Plaintiff also filed a number of documents from the Foreclosure Action suggesting
 Plaintiff failed to participate in the Foreclosure Action and did not contest the result entered there. {See I.C.
 at*10-23.)
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 "PNC debt collector/semcer- unauthorized to foreclose," (id. at *7). What is clear, however, is


 Plaintiffs unrelenting filings assert a series of causes of action that have no applicability to


 Plaintiffs apparent attempt to prevent a state Foreclosure Action on what the Court presumes is


 her property. The Court notes that as a byproduct of Plaintiffs serial filings, including repeated


 motions to attempt to amend her Initial Complaint, the Court has been inundated with pleadings


 and other filings that all have diverging claims and allegations, but at bottom seek to do the same


 thing—forestall the Foreclosure Action. The Court will set forth a brief summary of Plaintiffs


 filings for purposes of clarity:


             • On November 30, 2023, Plaintiff filed her initial Complaint ("Initial Complaint").

                  ("I.C./'ECFNo. 1.)


             • On January 19, 2024, Plaintiff filed her first Motion for Injunction and Permanent


                 Restraining Order. ("First TRO Mot./' ECF No. 6.)


             • Less than a month later, on February 5, 2024, Plaintiff filed another Motion for


                 Injunction and Permanent Restraining Order. ("Second TRO Mot.," ECF No. 11.)


             • Three weeks later, on February 26, 2024, Plaintiff filed another Motion for


                 Temporary Restraining Order. ("Third TRO Mot.," ECF No. 17.)


             • On March 12, 2024, Plaintiff filed her first Motion for Leave to File an Amended


                 Complaint. ("First Mot. to Amend," ECF No. 22.)




 6 For example, Plaintiff filed two documents entitled "Notice, Consent, and Reference of a Civil Action to
 a Magistrate Judge" on March 25, 2024 and April 22, 2024. (ECF Nos. 23, 30.) It is unclear why Plaintiff
 filed either of these documents—particularly because this matter was not referred to a magistrate judge to
 conduct all proceedings and order the entry of final judgment—and neither filing was with the consent of
 any Defendants in this matter. Therefore, the Court does not address these two filings any further.
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             • On April 9,2024, Plaintiff filed a "Brief in Support of a Motion for Motion to Leave


                 to Amendment the Complaint and Motion for Arbitration" that appears only to be


                 a draft proposed order without any briefing attached. (ECF No. 28.)


             • On June 5, 2024, Plaintiff filed a second Motion to Amend the Complaint and


                 Motion for Arbitration. ("Second Mot. to Amend," ECF No. 40.)


             • On July 8, 2024, Plaintiff unilaterally filed an Amended Complaint. For the reasons


                 discussed below, the Court considers this to be the "Operative Complaint" ("OC")


                 in this matter. ("O.C.," ECF No. 47.)


             • On August 21, 2024, Plaintiff filed a "Writ of Removal." (ECF No. 49.)


             • On September 3,2024, Plaintiff filed a Motion for Sanctions. ("Mot. for Sanctions,"


                 ECF No. 51.)


             • On September 20, 2024, Plaintiff filed a fourth "Proposed Order to Show Cause for


                 Preliminary Injunction and Temporary Restraining Order to Enter Contempt."


                 ("Fourth TRO Mot.," ECF No. 54.)


 The Court is now left with the Mount Everest-like task of trying to decipher Plaintiffs avalanche


 of filings to discern her operative set of claims and allegations that form the bases of her requests


 for relief. Toward that end, the Court will endeavor to do its best.


         Plaintiffs 22-page Initial Complaint is directed at the PNC Defendants and the Secretary


 of State Defendants. {See I.C.) The allegations and claims are difficult to discern. For example, the


 Initial Complaint states that Plaintiff brings this action under the "Fair Housing Act section 837,


 section 245, 701, National Currency Act section et seq. 4 Amendment, Preamble to Constitution-


 Life, Liberty and pursuit of Happines [sic]; Article for contracts." (Id. at *5.) Two pages later,


 Plaintiff describes the relief sought as:
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         Damages sought for all the above factual claims possess actual prior court awarded
         damages: Coloring Title: Unlawful Note Negotiable Instrument Conversion:
         Consumer Fraud: Injunction against the State Court, MIDDLESEX COUNTY
         SUPERIOR COURT, CHANCERY DIVISION, SWF-F-003424-23, venue has no
         jurisdiction based on the contract. may cause harm under Rooker-Feldman
         Doctrine.

 {Id. at *7.) Plaintiff attached 46 pages of exhibits to the Initial Complaint that appear to include


 Plaintiffs mortgage, (see ECF No. 1-1 at *22-31), a loan note, (see id. at *10-12), and


 correspondence with PNC Bank regarding the Foreclosure Action, {see id. at * 37).


         On January 19, 2024, a week after the Foreclosure Action MS J Order, Plaintiff filed her


 First TRO Motion in this federal case seeking to enjoin the Foreclosure Action. ("First TRO Mot.,"


 ECF No. 6.) This Court denied the First TRO Motion in short order. (See ECF No. 9.) Four days


 later, Plaintiff filed her Second TRO Motion that was just the as-filed First TRO Motion with the


 old dates crossed out. ("Second TRO Mot.," ECF No. 11.) At that time, the PNC Defendants filed


 an Opposition to the Second TRO Motion and a Cross-Motion to Dismiss the Complaint. ("PNC's


 Cross-Motion to Dismiss," ECF No. 15-1.)


         While the Court considered the Second TRO Motion, Plaintiff filed her Third TRO Motion,

 yet again asking the Court to "intercede to stay the[] State Court actions." ("Third TRO Mot.,"


 ECF No. 17 at 1.) The Court denied both the Second TRO Motion and Third TRO Motion and

 ordered Plaintiff to "not file any motion for preliminary injunctive relief pursuant to Federal Rule


 of Civil Procedure 65 without first seeking leave of Court by filing a two-page letter explaining


 the basis for her motion." (ECF No. 19 at 6.)


         On March 12, 2024, Plaintiff filed an Opposition to PNC's Cross-Motion to Dismiss, (ECF


 No. 20), and her First Motion to Amend, ("First Mot. to Amend," ECF No. 22).7 Plaintiff sought




 7 The PNC Defendants replied to Plaintiff s Opposition, (ECF No. 25), and further opposed the First Motion
 to Amend, (ECF No. 24).
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 to file an amended complaint that would add Gateway First Bank and "Freddie Mac" as Defendants


 and add additional claims, including claims under the 1866 Civil Rights Act, "Preemption Clause,"


 and "Four Comers Rule." {Id.} The Court (or the Magistrate Judge)—having been inundated by


 Plaintiffs filings—did not have the opportunity to rule on Plaintiffs First Motion to Amend,


 which left the Initial Complaint as the operative pleading at the time. The following month, the


 Ohio Secretary of State filed a Motion for Judgment on the Pleadings.8 ("Ohio's Motion for


 Judgment on the Pleadings," ECF No. 29.)


         Without waiting for the Court to decide the First Motion to Amend, Plaintiff filed another


 "Motion to Amend Complaint and Motion for Arbitration" on June 5, 2024.9 ("Second Mot. to


 Amend," ECF No. 40.) While the Second Motion to Amend is similarly difficult to interpret, it


 appears Plaintiff sought to add additional claims for, among other things, defamation, "identity


 thief [sic]," and "violation of consumer protection laws."10 {Id. at 1-2.) The Court (or the


 Magistrate Judge) again did not have the opportunity to rule on Plaintiffs Second Motion to


 Amend, which left the Initial Complaint as the operative pleading.


         Then, on July 8, 2024, Plaintiff unilaterally filed the OC without the requisite leave of


 Court. ("O.C.," ECF No. 47.) The OC—Plaintiff s third iteration of an amended pleading which


 is entirely different from the proposed amendments in her First and Second Motions to Amend—


 removed the Secretary of State Defendants as Defendants in this action and added the Unnamed


 Defendants. (Id. at 1.) The OC alleges four counts of wrongdoing against the PNC Defendants and




 8 Because Plaintiffs First Motion to Amend had not yet been decided, and the proposed amended complaint
 had not been accepted for filing, Ohio's Motion for Judgment on the Pleadings was directed to the Initial
 Complaint. However, Ohio's brief noted that the proposed amendment in the First Motion to Amend did
 not "cure any of the deficiencies discussed" in their Motion. (ECF No. 29-1 at 3 n.l.)

 9 There does not appear to be a reference to arbitration anywhere in the Second Motion to Amend.

 10 The PNC Defendants opposed the Second Motion to Amend. (See ECF No. 46.)
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 the Unnamed Defendants: violation of the Fair Debt Collection Practices Act ("FDCPA") (Count


 I); violation of the New Jersey Fair Credit Reporting Act ("NJFCRA") (Count II); fraud (Count

 Ill); and civil conspiracy (Count TV). {Id. at 4-5.) The Ohio Secretary of State subsequently filed


 a Motion to Dismiss the Operative Complaint. ("Ohio's Motion to Dismiss," ECF No. 48.)


         Since then, Plaintiff has made a handful of other filings adding various allegations and


 seeking new forms of relief. Plaintiff filed a 12-page "Writ of Removal," which appears to be


 seeking the same relief Plaintiff has consistently been denied by the Court—a stay of the state


 Foreclosure Action. (See ECF No. 49 at 1.) Plaintiff also filed the pending Motion for Sanctions


 directed at Defendant PNC Bank and its counsel.11 ("Motion for Sanctions," ECF No. 51.) Further,


 a subsequent letter from Plaintiff requested the Court to subpoena documents from the PNC


 Defendants in relation to Plaintiffs Motion for Sanctions. (ECF No. 53.) Plaintiff then filed


 another Order to Show Cause for Preliminary Injunction and Temporary Restraining Order,


 ("Fourth TRO Motion"), yet again seeking to enjoin the Foreclosure Action. (ECF No. 54.)


        II. LEGAL STANDARD

               i. Federal Rule of Civil Procedure 15


        Rule 15 permits a party to amend its pleading once as a matter of course within 21 days of


 service or 21 days after service of a responsive pleading or service of a motion under Rule 12(b),


 (e), or (f), whichever is earlier. Fed. R. Civ. P. 15(a)(l). Otherwise, a party can only amend "with


 the opposing party's written consent or the court's leave." Fed. R. Civ. P 15(a)(2). A motion for


 leave to amend a complaint is "addressed to the sound discretion of the district court." Cureton v.


 Nat'l Collegiate Athletic Ass'n, 252 F.3d 267, 272 (3d Cir. 2001). A district court "may deny leave


 to amend a complaint if a plaintiffs delay in seeking amendment is undue, motivated by bad faith,




 11 The PNC Defendants opposed Plaintiffs Motion for Sanctions. (See ECF No. 52.)

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 or prejudicial to the opposing party." Id. at 273. A district court may also deny leave to amend


 where "the movant fails to provide a draft amended complaint," or the amendment "fails to state a


 cause of action." Id.


               ii. Federal Rule of Civil Procedure 12(b)(6)

         For a complaint to sumve dismissal under Rule 12(b)(6), it must contain sufficient factual


 matter to state a claim that is "plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)


 (quoting Bell Ati. Corp. v. Twombly, 550 U.S. 544,570 (2007)). A claim is facially plausible "when


 the plaintiff pleads factual content that allows the court to draw the reasonable inference that the


 defendant is liable for the misconduct alleged." Id. However, allegations that are "no more than


 conclusions" may be disregarded. Id. at 679. Restatements of the elements of a claim are legal


 conclusions, and therefore, are inadequate alone to survive dismissal. See Burtch v. Milberg


 Factors, Inc., 662 F.3d 212, 224 (3d Cir. 2011). The court accepts allegations in the complaint as


 true and gives the plaintiff "the benefit of every favorable inference to be drawn therefrom."


 Kulmcki v. Dawson, 969 F.2d 1454, 1462 (3d Cir. 1992). "Factual allegations must be enough to


 raise a right to relief above the speculative level." Twombly, 550 U.S. at 555.


         On a motion to dismiss, a court must only consider "the complaint, exhibits attached to the


 complaint, matters of the public record, as well as undisputedly authentic documents if the


 complainant's claims are based upon these documents." Mayer v. Belichick, 605 F.3d 223, 230


 (3d Cir. 2010). A court is also permitted to take "judicial notice of [] state court proceedings . . ."


 In re Congoleum Corp., 426 F.3d 675, 679 n.2 (3d Cir. 2005) (noting "judicial notice can be taken


 of certain facts such as that a document was filed, a position taken, an admission or allegation


 made 'as long as it is not unfair to a party to do so and does not undermine the trial court's
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 factfinding authority.'" (quoting In re Indian Palms Assocs., Ltd., 61 F. 3 d 197, 205 (3d Cir.


 1995))).

         Rule 8 requires a complaint to contain "a short and plain statement of the claim showing


 that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2). "Each allegation must be simple,


 concise, and direct." Fed. R. Civ. P. 8(d)(l). Rule 8's purpose is to "give the defendant fair notice


 of what the ... claim is and the grounds upon which it rests." Twombly, 550 U.S. at 555 (quoting


 Conley v. Gibson, 355 U.S. 41, 47 (1957)). While under Rule 8(a) plaintiffs are not required to set


 forth detailed factual allegations in their complaints, they have an "obligation to provide the


 'grounds' of [their] 'entitle[ment] to relief . ..." Id.


              iii. Federal Rule of Civil Procedure 65


         Granting a temporary restraining order pursuant to Rule 65 is an "extraordinary remedy"


 that "should be granted only in limited circumstances." Kos Pharm., Inc. v. Andrx Corp., 369 F.3d


 700, 708 (3d Cir. 2004) (quoting Am. Tel. & Tel. Co. v. Winback & Conserve Program, Inc.,


 42F.3d 1421, 1427 (3dCir. 1994)). la determining whether to grant a motion for preliminary


 injuncdve relief, the Court considers four factors: (1) whether the movant has shown "a reasonable


 probability of eventual success in the litigation"; (2) whether the movant "will be icreparably


 injured . . . if relief is not granted"; (3) "the possibility of harm to other interested persons from


 the grant or denial of the injunction"; and (4) whether granting the preliminary relief will be in


 "the public interest." Reilly v. City ofHarrisburg, 858 F.3d 173, 176 (3d Cir. 2017) (citing Del.


 River Port Auth. v. Transamerican Trailer Transp., Inc., 501 F.2d 917, 919-20 (3d Cir. 1974)).


 The movant bears the burden of showing its entitlement to an injunction. See Ferring Pharms.,


 Inc. v. Watson Pharms., Inc., 765 F.3d 205, 210 (3d Cir. 2014) (citing Opticians Ass'n of Am. v.


 Indep. Opticians of Am., 920 F.2d 187, 192 (3d Cir. 1990)).
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          III. Federal Rule of Civil Procedure 11


          Pursuant to Rule 11, a court may impose sanctions on attorneys and parties. Rule 11


  requires that any "pleading, written motion, or other paper" filed or submitted to the Court "not


  be[] presented for any improper purpose, such as to harass, cause unnecessary delay, or needlessly


  increase the cost of litigation." Fed. R. Civ. P. ll(b). The goal of Rule 11 is accountability, Keister


  v. PPL Corp., 677 F. App'x. 63, 68 (3d Ctr. 2017), and its central purpose is to deter baseless


  filings, Howe v. Litwark, 579 F. App'x. 110, 115 (3d Cir. 2014) (quoting Cooler & Geil v.


  Hartmarx Corp., 496 U.S. 384, 393 (1990)). To secure Rule 11 sanctions, a party must make a


 motion for sanctions "separately from any other motion and must describe the specific conduct


 that allegedly violates [Rule 11]." Fed. R. Civ. P. ll(c)(2). Any sanction imposed must be limited


 to what suffices to deter repetition of the conduct or comparable conduct. Fed. R. Civ. P. 1 l(c)(4).


 In addition, notice to the alleged offender is required. See Fed. R. Civ. P. 1 l(c)(l).


         IV. DISCUSSION

         Given the number of motions currently before the Court, the Court will address the motions


 in the following order: (i) Plaintiffs First and Second Motions to Amend; (ii) Ohio's Motion for

 Judgment on the Pleadings, Ohio's Motion to Dismiss, and PNC's Cross-Motion to Dismiss,


 (iii) Plaintiffs Fourth TRO Motion; and (iv) Plaintiff's Motion for Sanctions.

                i. Plaintiff's First and Second Motions to Amend the Complaint


         In order to adequately address Ohio's Motion to Dismiss and PNC's Cross-Motion to


 Dismiss, the Court begins by addressing Plaintiffs two outstanding Motions to Amend the


 Complaint. (See First Mot. to Amend; Second Mot. to Amend.) The proposed amendments in


 Plaintiffs Motions seek to add new allegations, new parties, and new claims, many of which are


 confusingly pled. {See, e.g., First Mot. to Amend at * 7 (seeking to bring a count referred to as




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  "Debt Peonage-Involuntary Servitude"); Second Mot. to Amend at *1 (seeking to add confusing


  allegations, such as "For on 11/21/2016, Breach of Note agreement contract new Second Note,


  shown on the second transaction, title transfer to Gateway/PNC., (Defendant) is a Purchase Money


  Loan Mortgage Indenture Securities lien on Plaintiff estate. . . .").)


          The Court notes at the outset that Plaintiff improperly filed the OC, which was filed prior


  to the Court issuing a decision with respect to either of the proposed amendments in the First


 Motion to Amend and Second Motion to Amend. Over three months passed between Plaintiff


 filing her Initial Complaint, (ECF No. 1), and when she first sought to file an amended complaint,


  (ECF No. 22); further, seven months passed between Plaintiff filing the Initial Complaint, (ECF

 No. 1), and actually filing the OC, (ECF No. 47).12 Therefore, Plaintiff was required to either


 obtain the consent of Defendants, or leave of Court, prior to filing the OC—neither of which


 occurred. See Fed. R. Civ. P. 15(a)(2).


         The Court will consider the OC as Plaintiff's operative pleading. See Floyd v.


  Commonwealth, No. 16-1420, 2017 WL 3405320, at *1 (M.D. Pa. June 14, 2017), report and


 recommendation adopted, 2017 WL 3394183 (M.D. Pa. Aug. 8, 2017), aff'd sub nom. Floyd v.


 Att'y Gen. of Pennsylvania 722 F. App'x 112 (3d Ctr. 2018) ("Because Floyd is proceeding pro


 se, we will consider his amended complaint even though it was not timely filed."). In consideration


 of Plaintiffs pro se status, the Court will also consider the allegations and claims in the Initial




 12 At the time Plaintiff filed the First Motion to Amend, she could have amended the Initial Complaint as a
 matter of course, as it was within 21 days of the filing of the PNC Defendants' Cross-Motion to Dismiss.
 See Fed. R. Civ. P. 15(a)(l)(B) (stating a party can amend its pleading once as a matter of course no later
 than "21 days after service of a responsive pleading or 21 days after service of a motion under Rule 12(b),
 (e), or (f), whichever is earlier.") However, given that Plaintiff subsequently filed the Second Motion to
 Amend and the ultimate OC, the Court presumes that Plaintiff no longer seeks to rely on the proposed
 amendment in the First Motion to Amend, particularly given the extreme differences between the claims
 and allegations in that proposed amendment as compared to the OC.


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  Complaint to be incorporated into the OC, though the Court need not do so as a technical matter.


  See West Run Student Housing Assocs., LLCv. Huntington Nat'l Bank, 712F.3d 165, 171 (3d Cir.


  2013) (quoting New Rock Asset Partners, L.P. v. Preferred Entity Advancements, Inc., 101 F.3d


  1492, 1504 (3d Cir. 1996)) (An "amended complaint 'supersedes the original and renders it of no


  legal effect, unless the amended complaint specifically refers to or adopts the earlier pleading.'").


         The Court recognizes that PNC's Cross-Motion to Dismiss is directed at Plaintiffs Initial


  Complaint, {see generally, PNC's Cross-Motion to Dismiss), and the PNC Defendants have not


  filed a renewed motion to dismiss since Plaintiff filed her OC. However, the Court has reviewed


  the PNC Defendants' Cross-Motion to Dismiss, as well as Plaintiffs OC. The arguments the PNC


  Defendants direct to the Initial Complaint apply with equal force to the claims and allegations


  raised in the OC. Therefore, the Court will consider PNC's Motion to Dismiss as applied to the


  OC (which, as discussed, incorporates the Initial Complaint). See Brown v. Camden City School


  District, No. 19-114, 2020 WL 6055070, at *4 (D.N.J. 2020) ("[A] defendant should not be

  'required to file a new motion to dismiss simply because an amended pleading was introduced


 while its motion was pending. If some of the defects raised in the original motion remain in the


 new pleading, the court may simply consider the motion as being addressed to the amended


 pleading.'" (quoting Jordan v. City ofPhila., 66 F. Supp. 2d 638, 640 n.l (E.D. Pa. 1999))).


         Because the Court has found the OC to be the operative pleading in this matter, the prior-


 filed First Motion to Amend and Second Motion to Amend are denied as moot.




 13 The Court gives Plaintiff the benefit of the doubt that the as-filed OC contains the operative set of claims
 and allegations she wishes to rely on going forward in this action, and therefore will not incorporate the
 previously but mooted proposed amendments in the First Motion to Amend and Second Motion to Amend
 into its analysis. However, a cursory review of both proposed amendments suggests both suffer from the
 same defects the OC suffers from that the Court discusses in this Opinion.


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              ii. Motions to Dismiss and Motion for Judgment on the Pleadings


                            a. Colorado River Abstention


         The PNC Defendants argue in their Cross-Motion to Dismiss that the Court should abstain


 from entertaining this action altogether based on the Colorado River abstention doctrine. (PNC's


 Cross-Motion to Dismiss at 10.) Colorado River abstention "allows a federal court to abstain,


 either by staying or dismissing a pending federal action, when there is a parallel ongoing state


 court proceeding." Nationwide Mut. Fire Ins. Co. v. George V. Hamilton, Inc., 571 F.3d 299, 307


 (3d Cir. 2009) (citing Colorado River Water Conservation Dist. v. United States, 424 U.S. 800


 (1976)). The threshold inquiry is "whether there is a parallel state proceeding that raises


 'substantially identical claims [and] nearly identical allegations and issues.'" Id. (quoting Yang v.


 Tsui, 416 F.3d 199, 204 n.5 (3d Cir. 2005)).

        The PNC Defendants argue that this action is substantially similar to the ongoing


 Foreclosure Action, (PNC's Cross-Motion to Dismiss at 13), and the Court notes it does appear


 both the Foreclosure Action and this action are connected to Defendant PNC Bank's foreclosure


 on Plaintiffs property. Indeed, "[t]his district has repeatedly invoked Colorado River to abstain


 from hearing what amount to collateral attacks on pending state foreclosure actions." Perez v. JP


 Morgan Chase Bank, N.A., No. 14-2279, 2019 WL 3570868, at *2 (D.N.J. Apr. 22, 2019) (quoting


 Dickerson v. Wells Fargo Bank, No. 15-3747, 2016 WL 820989, at *3 (D.N.J. March 2, 2016)).


        However, the Court cannot verify the current status of the Foreclosure Action. The Court's


 inquiry is hamstrung by the limited verifiable citations provided in any of Plaintiff s pleadings or


 the PNC Defendants' Cross-Motion to Dismiss. See Farah v. Lasalle Bank Nat'I Ass'n. No. 15-


 2602, 2016 WL 1162644, at *9 (D.N.J. Mar. 23, 2016) ("I find that I cannot apply the Colorado

 River factors without reference to facts that cannot be determined on this motion to dismiss.").




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  Further, while the Initial Complaint could be construed as asking the Court to enjoin the


  Foreclosure Action, the OC primarily seeks compensatory relief in connection with the PNC


  Defendants' debt-collection practices. {See O.C. at 6.) In a similar case, a court in this District held


  that a "state foreclosure action" that involved a bank defendant "seeking a judgment of foreclosure


  on property subject to a mortgage" was not parallel to a federal action "seek[ing] only damages


 for various debt collection practices but [did] not seek to invalidate the foreclosure proceeding."


 DeHart v. U.S. Bank, N.A. ND, 811 F. Supp. 2d 1038, 1046 (D.N.J. 2011); see also Dowell v.


  Bayview Loan Sen^s., LLC, No. 16- 02026, 2017 WL 9486188, at *13 (M.D. Pa. May 4, 2017)


  ("In the foreclosure action, Wells Fargo and then Bayview sought an in rem judgment of


 foreclosure. In this action, Dowell is seeking damages in addition to injunctive relief. Given these


 differences in the parties and the remedies sought, we conclude that the actions are not parallel.").


         Therefore, particularly given the rather circumscribed parameters of Colorado River


 abstention, and because the Court can otherwise dispose of this action on Rule 12(b)(6) grounds,


 at present, the Court need not find this action and the Foreclosure Action to be parallel. See Allied


 Nut & Bolt, Inc. v. NSS Indus., Inc., 920 F. Supp. 626, 630 (E.D. Pa. 1996) ("The courts have been


 cautious in finding actions that are merely similar to be [parallel].").


                             b. 1793 Anti-Injunction Act


         To the extent the OC can be construed as seeking to enjoin the Foreclosure Action, the


 1793 Anti-Injunction Act imposes "an absolute prohibition [] against enjoining state court


 proceedings, unless the injunction falls within one of three specifically defined exceptions." Ati.


 Coast Line R. Co. v. Bhd. of Locomotive Eng'rs, 398 U.S. 281, 286 (1970). The Act's three


 narrowly-read exceptions apply only "when expressly authorized by statute, necessary in aid of


 the court's jurisdiction, or necessary to protect or effectuate the court's judgment." Chick Kam




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  Choo v. Exxon Corp., 486 U.S. 140, 146 (1988). The Court finds that no exceptions apply here.


  First, no statute authorizes this Court to enjoin the state court proceedings. Second, the state


  proceedings do not "so interfere] with a federal court's consideration or disposition of a case as


  to seriously impair the federal court's flexibility and authority to decide that case." In re Gen.


  Motors Corp. Pick-Up Truck Fuel Tank Prod. Liab. Litig., 134 F.3d 133, 144 (3d Cir. 1998)


  (quoting Ati. Coast Line R. Co., 398 U.S. at 295). Third, this Court has issued no order or judgment


  that could be threatened by the state proceedings. Therefore, the Court is prohibited from enjoining


  the Foreclosure Action.


                             c. Failure to State a Claim


                                . 1) Secretary of State Defendants

         The Court finds that the OC (including the as-incorporated Initial Complaint) does not


  make any reference to the Ohio Secretary of State—or indeed, to any of the Secretary of State


  Defendants—beyond naming it as a Defendant in the Initial Complaint. None of the Secretary of


  State Defendants are named as a Defendant in the OC. {See O.C.) Therefore, the Ohio Secretary


  of State is dismissed from this action, and the Ohio Secretary of State's Motion to Dismiss the OC


  is granted. See Palladino ex rel. U.S. v. VNA of S. New Jersey, Inc., 68 P. Supp. 2d 455,477 (D.N.J.


  1999) (finding claims "must be dismissed as" to defendant for which the complaint "contained no


  allegations"); see also DeLauri v. New Jersey Div. of State Police, No. 05-4165, 2009 WL 222983,


  at *1 n.2 (D.N.J. Jan. 27, 2009) ("Plaintiff makes no allegations against Defendants Bertrand and


  Peterson. Therefore, the Court dismisses these Defendants from this case."); Jones v. Ellis, No. 21-


  13625, 2021 WL 5015921, at *1 n.l (D.N.J. Oct. 28, 2021) ("The Complaint also mentions


  Richard Hughes, but there are no allegations about this Defendant, and the Court will dismiss this


 Defendant for lack of personal involvement in the alleged wrongs."). Consequently, the Ohio




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 Secretary of State's Motion for Judgment on the Pleadings is denied as moot. (See Ohio's Motion


 for Judgment on the Pleadings.)


         With respect to the remaining Secretary of State Defendants, the Court notes that neither


 Defendant has entered an appearance or sought dismissal in this matter, leaving the Court to


 questionif either Defendant was properly served process. (5e<?ECFNos. 10-2, 10-5.) Nonetheless,


 because the OC does not name any of the Secretary of State Defendants, the Court liberally


 construes Plaintiffs OC to be seeking to dismiss the remaining Secretary of State Defendants from


 this action. See Erickson v. Pardus, 551 U.S. 89, 94 (2007) ("A document filed pro se is to be


 liberally construed. ..." (internal citations omitted).) Under Federal Rule of Civil Procedure


 41(a)(2), an action "may be dismissed at the plaintiff's request only by court order, on terms that


 the court considers proper." Fed. R. Civ. P. 41(a)(2). Thus, Plaintiff's implied request to dismiss


 from this action the remaining Secretary of State Defendants—the Pennsylvania Secretary of the


 Commonwealth and the Delaware Secretary of State—is granted.


                                   2) PNC Defendants

         The PNC Defendants argue that the OC "fails to plead sufficient facts to support any


 potential causes of action, and fails to demonstrate a plausible claim for relief." (PNC's Cross-


 Motion to Dismiss at 17.) Federal Rule of Civil Procedure 8's pleading standard "demands more




 14 In further support of the Court's finding that Plaintiff seeks to dismiss the Pennsylvania Secretary of the
 Commonwealth and the Delaware Secretary of State from this action, the Court notes that Plaintiff notates
 some version of "Process of Service" or "Service of Process" next to each of the Secretary of State
 Defendants' names in the Initial Complaint. (See I.C. at *3-4.) Plaintiff explained in her First Ivlotion to
 Amend that she named the Ohio Secretary of State as a Defendant because "the Secretary of State for
 Ohio is proper process of service for a Ohio business . . ." (First Mot. to Amend at *3.) Plaintiff then
 asked the Court "to deny [the Ohio Secretary of State's] appearance request" in the matter. (Id. at *4.) It
 appears to the Court that Plaintiff named the Secretary of State Defendants under the mistaken belief that
 the Secretary of State Defendants were required to be named in order to serve process through them under
 Federal Rule of Civil Procedure 4(e)(2)(C). The Court's finding is amplified by the fact that Plaintiff
 removed the Secretary of State Defendants as named Defendants from the OC.


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 than an unadomed, the-defendant-unlawfully-harmed-me accusation." Ashcroft, 556 U.S. at 678.


 "A pleading that offers 'labels and conclusions' or 'a formulate recitation of the elements of a


 cause of action will not do.'" Id. (quoting Twombly, 550 U.S. at 555).


        The Court begins its analysis by looking at the OC's allegations. Beginning with the as-


 incorporated Initial Complaint, Plaintiff states that she brings her lawsuit under "Fair Housing Act


 section 837, section 245, 701, National Currency Act section et seq. 4th Amendment, Preamble to


 Constitution-Life, Liberty and pursuit ofHappines [sic]; Article for contracts." (I.C. at *5.) None


 of these are cognizable claims. First, the "Preamble to Constitution" does not provide a cognizable


 private cause of action for Plaintiff to rely on. Second, the Court cannot discern what causes of


 action Plaintiff seeks to bring when she references an "Article for contracts." Third, Plaintiff cites


 sections of the Fair Housing Act that do not exist. See 42 U.S.C. §§ 3601-3619, 3631 (sections of


 the U.S. Code that make up the Fair Housing Act). Fourth, the Complaint alleges no facts to


 support a violation of the National Currency Act (which was replaced by the National Bank Act


 of 1864). See Turner v. E. Sav. Bank, FSB, No. 09-2637, 2010 WL 1409858, at *2 (D. Md. Apr.


 2, 2010) ("The National Currency Act prohibited actions such as 'transfer of bank assets in


 contemplation of insolvency or with a view to preferring one creditor of the bank over another.'


 . . . There are no factual allegations in Plaintiffs' complaint that support a National Currency Act


 violation." (internal citations omitted)). Finally, to the extent Plaintiffs "4th Amendment" claim


 can be construed as a claim under 42 U.S.C. 1983, such a claim cannot be maintained against


 private entities and actors like the PNC Defendants. See Boykin v. New Jersey, No. 16-5543, 2017


 WL 2560346, at *3 (D.N.J. June 12, 2017) (finding in foreclosure action that plaintiff could not


 "maintain claims under Section 1983 that essentially seek relief based on the private conduct of a


 private entity or actor, no matter how allegedly wrongful").




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         The Court also notes that the Initial Complaint fails to comport with Federal Rule of Civil


 Procedure 8's directive that a complaint contain "a short and plain statement of the claim showing


 that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2). The Initial Complaint is replete with


 confusing, erratic, and convoluted paragraphs that do not make clear to the Court, much less any


 Defendant, what claims Plaintiff is putting forth and what relief she seeks. To share a few


 examples, Plaintiff stated that the facts underlying her claim were:


         Fact: Property seized in demense [sic] as of fee by homeowner at
         143Hampshire,County Notice of Settlement 10/26/2016 Bk#02381, Pg#0467
         Gateway Mortgagee;Deed 11/9/2016, $340,500 payoff Bk06913, Pg#0064; This
         contract govern by Federal law; PNC debt collector/semcer- unauthorized to
         foreclose; Gateway President 'J. Keying Stitt' signature endorsement payee on
         'Note', deems he received $170,000 advance, meaning he obligated to pay; property
         convey without consideration; 'Note' and Mortgage separated deems void per
        Carpenter v. Longan. Fact: Only Creditor can Foreclose, not the assign/servicer. 15
        USC section 1692 et seq.

 (I.C. at *7.) In requesting specific performance, Plaintiff wrote:

        Enforce litigants/Borrower's rights governing Federal jurisdiction under Section 16
        because Defendant file foreclosure in NJ State venue seeking a judgment to
        circumvent the contract. Therefore Borrower Order: (1). An injunction to
        immediately cease State court venue litigation; (2).PNC provide authority holder
        the authenticated original 'Note,Mortgage' with notary name seal; (3). Use
        $170,000 'Note' funds paid to 'J. Kevin Stiff signer/payee obligation to pay full
        amount owed section 8;(4). Terminate/discontinue contract after foreclosure
        initiated section 19 and 22; (5). Enforce section 11 Miscellaneous proceeds pay
        sums, return to Borrower unused for repairs.


 {Id. at *20.) In explaining her damages, Plaintiff stated:

        For financial harm consideration payments I made; for conveying real property not
        knowing for home repairs mortgage lien; threaten right to housing; for identity theft
        the unauthorized check/draft processed without POA/consent/contract to attach
        allonge [sic] after closing to convert 'Note' into check/draft negotiable instrument
        to pay $170,000 advance to Gateway President with the words 'PAY TO THE
        ORDER OF: J. Kevin Stitt' payee endorser signature; for 'Note' deem asset
        payment separated from Mortgage debt given to FreddieMac; for third-party 'debt
        collector' PNC initiating adverse property and dispute in State not Federal venue
        per contract terms.




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 (M) These are but a few examples of Plaintiffs convoluted representations that are a common


 theme throughout many of her filings in this matter. (See, e.g., ECF No. 20; Mot. for Sanctions.)


 "A complaint that reads like a plaintiffs personal 'diary' and is 'rambling and confusing' does not


 meet the standard under Rule 8(a)(2)." Blount v. TD Bank, N.A., No. 12-18805,2022 WL 4354640,


 at *2 (D.N.J. Sept. 20, 2022) (quoting Pilkey v. Lappin, No. 05-5314, 2006 WL 1797756, at *1


 (D.NJ. June 26, 2006)); see Teklewolde v. Onkyo USA Corp., No. 06-1097, 2006 WL 2465426, at


 *2 (D.N.J. Aug. 22, 2006) ("[A] court should dismiss the case pursuant to Rule 8(a), 'if a pro se


 complaint is so confusing or unintelligible that no party could possibly understand or reply to it.'"


 (quoting Cole v. Commonwealth Federal, No. 94-6099, 1994 WL 618464, at *1 (E.D. Pa. Nov. 8,


 1994))).

         Where the Initial Complaint provides an overload of jumbled detail, the now OC provides


 the opposite. A review of the OC reveals that almost the entirety of Plaintiffs 27-paragraph


 pleading is a "formulaic recitation of the elements of a cause of action." Ashcroft, 556 U.S. at 678


 (quoting Twombly, 550 U.S. at 555)). For example, Plaintiff alleged within the "Factual


 Allegations" section of her OC:


         Defendants' actions . . . violated the FDCPA in a number of ways, including but
         not limited to the following:
         a. Defendants used false, deceptive and misleading representations and means in
         connection with the collection of the alleged debt, in violation of section 1692e;
        b. Defendants falsely represented the character, amount and legal status of the debt,
        in violation of section 1692e(2)(A) ...


 (O.C. at 2.) Even more egregiously, in outlining the "Factual Allegations" underlying her NJFCRA


 claim, Plaintiff wrote:


         [NJFDCPA] prohibits debt collectors from engaging in certain practices when
         attempting to collect a debt from New Jersey consumers. Some of the key
        prohibitions include:
         a. Harassment or abuse: Debt collectors cannot use threats of violence, obscene
        language, or repeatedly call with the intent to annoy or harass;


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           b. False or misleading representations: Debt collectors cannot lie about the amount
           of the debt, falsely imply that they are attorneys or government representatives, or
           threaten actions they do not intend to take;
           c. Unfair practices: Debt collectors cannot collect any amount not authorized by the
           agreement creating the debt, such as unauthorized fees or interest. . . .


  (Id. at 3.)


          Plaintiffs "Causes of Action" are drafted in a similarly conclusive fashion. For example,


 in connection with her fraud claim against the PNC Defendants, Plaintiff wrote:


          Defendants Aimee D. Sumitra and Thomas W. Morris, while acting on behalf of
          PNC Bank, N.A., made false representations of material fact to Plaintiff, knowing
          that such representations were false, with the intent to deceive Plaintiff and induce
          her to act upon those representations.

 {Id. at 5.) Similarly, in connection with her civil conspiracy claim, she wrote:


          Defendants, including John and Jane Does 1-5, agreed to engage in a course of
          conduct designed to harass and attempt to collect a debt from Plaintiff through
          unlawful means.
          Defendants committed overt acts in furtherance of this agreement, causing damage
          to Plaintiff.
          As a result of Defendants' civil conspiracy, Plaintiff is entitled to actual damages,
          punitive damages, and reasonable attorney's fees and costs.


 {Id. at 4.) These are textbook examples of "formulaic recitation" that kill a complaint at the motion


 to dismiss stage. See Ashcroft, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).


          Plaintiffs Opposition to PNC's Cross-Motion to Dismiss is as unclear and haphazard as


 her primary filings in this matter and does nothing to assuage the Court's concerns about


 Defendants' ability to discern their conduct that Plaintiff complains of in the OC. {See ECF No.


 20.) Thus, because the OC fails to comply with Rule 8's pleading standards and otherwise fails to


 state a claim for which relief can be granted under Rule 12(b)(6), PNC's Cross-Motion to Dismiss


 is granted, and the OC is dismissed without prejudice.




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               iii. Plaintiff's Fourth TRO Motion


         Plaintiff's Fourth TRO Motion is another attempt by Plaintiff to obtain preliminary relief


 that the Court has already advised her repeatedly it cannot and will not grant. (See ECF Nos. 9,


  19.) The Court previously ordered that "if Plaintiff wishe[d] to file a motion for preliminary


 injunctive relief pursuant to Federal Rule of Civil Procedure 65 in this matter in the future, she


 must file a letter of no more than two pages explaining the basis for the requested relief and seeking


 leave to file her motion." (ECF No. 19 at 5.) Because Plaintiff filed the Fourth TRO Motion without


 complying with the Court's Order, Plaintiff's Fourth TRO Motion is denied on that basis alone.


         Even assuming, arguendo, that Plaintiff complied with the Court's directive, the Fourth


 TRO Motion would still be denied. Plaintiff has failed to show a "reasonable probability of


 eventual success in the litigation." Reilly, 858 F.3d at 176. Plaintiffs Fourth TRO Motion suffers


 from the same defects as her previous three requests the Court denied. (See ECF Nos. 9,19.) What


 is more, the Court has already found that the OC fails to state a claim for relief against any


 Defendant. Therefore, Plaintiff has not established any likelihood of success on the merits that


 could warrant the extraordinary remedy of ex parte preliminary relief in a matter that is being


 dismissed.


              iv. Plaintiff's Motion for Sanctions


         Plaintiff has sought sanctions against Defendant PNC Bank and its counsel for allegedly


 "fil[ing] [a] false statement" in its L. Civ. R. 7.1.1 Disclosure Statement, (ECF No. 14). (Motion




 15 The Fourth TRO Motion also makes reference to seeking an "Order to Enter Contempt." (See ECF No.
 54 at * 1.) Plaintiff argues that "Defendant failed to answer Court Ordered Subpoena, in Contempt of Court."
 {Id.) Plaintiff attaches to the Fourth TRO Motion a "Subpoena to Testify at a Deposition in a Civil Action,"
 she filed directed at the PNC Defendants. (ECF No. 54-3.) Plaintiff previously wrote a letter to the Court
 regarding this subpoena. {See ECF No. 53.) Given that the Court is dismissing this action, Plaintiffs
 subpoena is rendered moot, and the Court will not hold any Defendant in contempt in connection with a
 mooted subpoena.


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 for Sanctions at 1.) Plaintiff haphazardly strung together words that the Court generously interprets


 as alleging that PNC Bank falsely claimed to be the holder of Plaintiff s mortgage. (Id.) However,


 attachments to the Initial Complaint indicate PNC Bank is the servicer of Plaintiffs mortgage,


 (ECF No. 1-1 at *46), and that Plaintiff made payments to "PNC Mortgage, A Division of PNC


 Bank, National Association," (id. at *44). Plaintiffs claims over PNC Bank's role in her mortgage


 dispute are tied to the claims in her OC, which the Court has ah-eady dismissed. It does not appear


 to the Court that PNC Bank made any sanctionable representations in this matter. See Sheeran v.


 Blyth Shipholding S.A., No. 14-5482, 2015 WL 9048979, at *6 (D.N.J. Dec. 16, 2015) (finding

 counsel had "good-faith basis" for representations which did not meet "high standard" reqmred to


 impose Rule 11 sanctions). Further, as the PNC Defendants note in opposition, Plaintiff appears


 to have failed to serve PNC Bank prior to filing the Motion for Sanctions, in violation of Federal


 Rule of Civil Procedure ll(c)(2). (ECFNo. 52 at 1.)

        While Plaintiffs Motion for Sanctions must be denied, the Court notes that Plaintiffs


 never-ending flurry of filings and nonchalant leveling of serious and consequential allegations


 implicates concerns that Plaintiff is abusing the judicial process. Plaintiffs ignorance of this


 Court's orders and continual rambling and indiscriminate filings have wasted this Court's judicial


 resources and veer much closer to sanctionable conduct than any conduct alleged to have been


 undertaken by the PNC Defendants in this matter. Plaintiffs Motion for Sanctions is denied.


 Plaintiff is kindly directed to heed the Court's advisement going forward, in the event she chooses


 to do so, consistent with the accompanying Order.




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                                       CONCLUSION

        For the foregoing reasons, PNC's Cross-Motion to Dismiss and Ohio's Motion to

 Dismiss are GRANTED. (ECF Nos. 15, 48.) The Court interprets the omission of the

 Pennsylvania Secretary of the Commonwealth and Delaware Secretary of State from the

 Operative Complaint as Plaintiffs motion to dismiss her claims against them pursuant to

 Rule 41(a), which is GRANTED. Plaintiffs Operative Complaint is DISMISSED

 without prejudice as to all Defendants. (ECF No. 47.) Plaintiffs First and Second Motions to

 Amend and Ohio's Motion for Judgment on the Pleadings are DENIED as moot. (ECF Nos. 22,

 29, 40.) Plaintiffs Fourth TRO Motion and Motion for Sanctions are both DENIED. (ECF Nos.

 51, 54.) An appropriate Order will accompany this Opinion.




                                           UNITED STATES DISTRICT JUDGE

 Dated: September 27, 2024




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